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                  UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF MICHIGAN


In re CASSAVA SCIENCES, INC.        )   Originating No. 1:21-cv-00751-DAE
SECURITIES LITIGATION               )   (W.D. Tex.)
                                    )
                                    )   CLASS ACTION
This Document Relates To:           )
                                        PLAINTIFFS’ MOTION TO COMPEL
                                    )
     ALL ACTIONS.                       THE PRODUCTION OF
                                    )
                                        DOCUMENTS FROM NON-PARTY
                                    )
                                        DR. HOAU-YAN WANG
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      By this motion, lead plaintiff Mohammad Bozorgi and plaintiffs Ken

Calderone and Manohar Rao (collectively, “Plaintiffs”) in the underlying litigation

pending in the United States District Court for the Western District of Texas

respectfully seek an order compelling non-party Dr. Hoau-Yan Wang (“Dr. Wang”)

to produce: (1) the transcripts of his deposition testimony before the Securities and

Exchange Commission (“SEC”) and any exhibits thereto; and (2) a May 14, 2020

email to Dr. Wang – both of which Dr. Wang has improperly withheld based on an

inapplicable “act of production” privilege. 1 This motion is brought in the United

States District Court for the Eastern District of Michigan (the “Court”) because the

subpoena served on Dr. Wang set the place for compliance as Bloomfield Hills,

Michigan, where Dr. Wang’s counsel is located. 2          Therefore, the Court has

jurisdiction to hear this motion. See Fed. R. Civ. P. 45(d)(2)(B)(i) (“the serving

party may move the court for the district where compliance is required for an order

compelling production or inspection”).




1
       Plaintiffs hereby certify pursuant to E.D. Mich. LR 7.1(a)(2)(A) and 37.1 that
there was a conference between counsel on September 24, 2024 and October 15,
2024, and that counsel for Plaintiffs explained the nature of the motion and its legal
basis to counsel for Dr. Wang, but have been unable to resolve these issues or obtain
a concurrence in the relief sought herein.
2
      Prior to serving the subpoena, Dr. Wang’s counsel agreed to accept service on
behalf of Dr. Wang. Dr. Wang did not object to the place for compliance.
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DATED: November 15, 2024


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                  UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF MICHIGAN


In re CASSAVA SCIENCES, INC.        )   Originating No. 1:21-cv-00751-DAE
SECURITIES LITIGATION               )   (W.D. Tex.)
                                    )
                                    )   CLASS ACTION
This Document Relates To:           )
                                        MEMORANDUM IN SUPPORT OF
                                    )
     ALL ACTIONS.                       PLAINTIFFS’ MOTION TO COMPEL
                                    )
                                        THE PRODUCTION OF
                                    )
                                        DOCUMENTS FROM NON-PARTY
                                        DR. HOAU-YAN WANG
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                   STATEMENT OF ISSUES TO BE DECIDED

      1.    Should the United States District Court for the Eastern District of

Michigan (the “Court”) compel Dr. Hoau-Yan Wang (“Dr. Wang”) to produce his

deposition transcripts and attached exhibits from his testimony before the U.S.

Securities and Exchange Commission (“SEC”)?

            Answer: Yes. The act of production privilege does not apply to

      Dr. Wang’s deposition transcript and attached exhibits. Even if the act

      of production privilege applied (it does not), Dr. Wang waived it when

      his counsel revealed that Dr. Wang had testified before the SEC and

      agreed to produce his deposition transcripts and exhibits to Plaintiffs.

      Only later did Dr. Wang’s counsel renege on this agreement and refuse

      to produce the documents based on a purported “act of production”

      privilege.

      2.    Should the Court compel Dr. Wang to produce an email that he received

from defendant Dr. Lindsay Burns (“Burns”) on May 14, 2020?

            Answer: Yes. The act of production privilege does not apply to

      the May 14, 2020 email as it has been publicly described in detail by

      both defendant Cassava Sciences, Inc. (“Cassava”) and the SEC as an

      email that “unblinded” Dr. Wang to the Phase 2 clinical trial of




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      Cassava’s drug candidate Simufilam and it can be authenticated by

      another source, including by Burns.




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      CONTROLLING AND MOST APPROPRIATE AUTHORITIES
                 FOR THE RELIEF SOUGHT

CASES:

   • Fisher v. U.S., 425 U.S. 391, 410 (1976)

   • Maness v. Meyers, 419 U.S. 449, 466 (1975)

   • Butcher v. Bailey, 753 F.2d 465, 470 (6th Cir. 1985)

   • Bayview Loan Servicing, LLC v. McNaughton, 2007 WL 2433996, at *2
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   • U.S. v. Koubriti, 297 F. Supp. 2d 955, 968 (E.D. Mich. 2004)


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I.    INTRODUCTION

      Pursuant to Federal Rules of Civil Procedure (“Rule(s)”) 37 and 45, lead

plaintiff Mohammad Bozorgi and plaintiffs Ken Calderone and Manohar Rao

(collectively, “Plaintiffs”) respectfully request an order compelling compliance with

their document subpoena to non-party Dr. Hoau-Yan Wang (“Dr. Wang”). 1 Because

the document subpoena set the place for compliance within this District, the Court

has jurisdiction to hear this motion. See Fed. R. Civ. P. 45(d)(2)(B)(i) (“the serving

party may move the court for the district where compliance is required for an order

compelling production or inspection”).

      This discovery dispute concerns Dr. Wang’s reversal on his agreement to produce

transcripts and exhibits for his depositions taken by the U.S. Securities and Exchange

Commission (“SEC”) (the “Deposition Materials”), plus a May 14, 2020 email he

received from a defendant in the underlying litigation, Dr. Lindsay Burns (“Dr. Burns”)

(the “May 14 Email” and, together with the Deposition Materials, the “Withheld

Documents”). As a paid scientific collaborator for defendant Cassava Sciences, Inc.

(“Cassava”), Dr. Wang is a witness in a securities fraud case against Cassava, Dr.




1
    As noted in Plaintiffs’ Motion, Plaintiffs hereby certify pursuant to E.D. Mich.
LR 7.1(a)(2)(A) and 37.1 that there was a conference between counsel on September
24, 2024 and October 15, 2024, and that counsel for Plaintiffs explained the nature
of the motion and its legal basis to counsel for Dr. Wang, but have been unable to
resolve these issues.

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Burns, and two other executives (collectively, “Cassava Defendants”) pending in the

United States District Court for the Western District of Texas.2

       On behalf of a putative class of Cassava investors, Plaintiffs allege that the

Cassava Defendants misled the market about Simufilam, an Alzheimer’s drug candidate,

by holding it out as a revolutionary treatment while concealing the systematic data

manipulation, significant anomalies, and intractable conflicts of interest that tainted its

Phase 2 clinical trial results and pre-clinical research. As one of Simufilam’s co-

developers and Cassava’s paid consultant, Dr. Wang played a key role in both the Phase

2 trials and underlying scientific research.      Importantly, contrary to the Cassava

Defendants’ representations that the Phase 2 clinical trial was “blinded” to prevent bias

in the results, Dr. Burns’ May 14 Email “unblinded” Dr. Wang to a significant portion of

the patients in the trial.

       Prominent scientists have since exposed the Cassava Defendants’ fraud, and

scientific journals have retracted the underlying Simufilam research.             Multiple

government entities launched criminal and civil investigations, including the U.S.

Department of Justice (“DOJ”) and SEC. And as part of the SEC’s investigation,

Dr. Wang was deposed twice: in August 2023 and March 2024.


2
   The Cassava Defendants are: (1) Cassava; (2) Cassava’s founder and former
CEO, Remi Barbier (“Barbier”); (3) former Senior VP of Neuroscience and
Barbier’s wife, Dr. Lindsay Burns; and (4) CFO, Eric Schoen. Barbier and Burns
resigned from Cassava shortly after Dr. Wang was indicted.

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       In June 2024, the DOJ indicted Dr. Wang for data manipulation related to

Cassava’s Simufilam research. Ex. 1.3 In response, Cassava issued a July 1, 2024 press

release, admitting that a May 14 Email partially “unblinded” Dr. Wang to the Phase 2

trial data. Ex. 2 at 4.

       On September 26, 2024, the SEC charged Cassava, Barbier, and Burns for

misleading investors about the manipulated Phase 2 trial results and undisclosed conflicts

of interest. See Ex. 3 (the “SEC Complaint”). For his role in the scheme, the SEC issued

a Cease-and-Desist Order against Dr. Wang (“SEC Order”). See Ex. 4. Both the SEC

Complaint and the SEC Order included additional details about the May 14 Email that

“unblinded” Dr. Wang. See Ex. 3 at 9-10; Ex. 4 at 4-5. To resolve the SEC charges,

Cassava, Barbier, Burns, and Dr. Wang paid over $40 million in penalties, and Barbier

and Burns are barred from being an officer or director of a public company for several

years. See Ex. 5.

       Meanwhile, in the underlying litigation, Plaintiffs subpoenaed Dr. Wang for

relevant documents.       Plaintiffs’ subpoena sought, among other documents,

communications with certain individuals at Cassava and documents and communications

concerning the government investigations into Cassava’s Simufilam Phase 2 trials.



3
   All “Ex.” references are to the Declaration of Kevin A. Lavelle in Support of
Plaintiffs’ Motion to Compel the Production of Documents from Non-Party Dr.
Hoau-Yan Wang (Exhibit A hereto, the “Lavelle Decl.”).

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Pursuant to that subpoena, Plaintiffs asked Dr. Wang to obtain the Deposition Materials

from the SEC and provide them to Plaintiffs.

      On Tuesday, September 17, 2024, nearly three months after the DOJ indictment,

Dr. Wang confirmed that he had received the Deposition Materials and promised to

produce them that same week. After the end of the week came and went, Plaintiffs

followed up. Then, on Monday, September 23, 2024, Dr. Wang abruptly changed course

and refused to produce the Deposition Materials, asserting, for the first time, the “act of

production” privilege.

      Similarly, on October 10, 2024, Dr. Wang agreed, through his counsel, that the

May 14 Email was responsive to the subpoena, but refused to produce it because it should

be in the Cassava Defendants’ possession and, therefore Dr. Wang, as a third party,

claimed he should not have to produce it. It was not until after Dr. Wang was informed

by Plaintiffs that the Cassava Defendants claim they do not have possession of the

May 14 Email that Dr. Wang asserted the “act of production” privilege over the May 14

Email. Ex. 6 at 1.

      Dr. Wang’s attempt to shirk his discovery obligations by asserting the “act of

production” privilege is unavailing. He has already admitted that: (1) the SEC deposed

him; (2) the Deposition Materials exist; (3) he possesses the Deposition Materials; (4) the

May 14 Email exists; (5) he possesses the May 14 Email; (6) the May 14 Email and




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Deposition Materials are responsive to Plaintiffs’ subpoena; and (7) because Dr. Wang

agreed to produce the Deposition Materials, Plaintiffs are entitled to them.

       These admissions are important because the Fifth Amendment “act of

produc[tion]” privilege comes into play only when the fact that the party possesses the

documents is incriminating, rather than any inculpatory information contained therein.

U.S. v. Maxwell, 545 F. Supp. 3d 72, 79 (S.D.N.Y. 2021) (citing Fisher v. U.S., 425

U.S. 391, 410-11 (1976)). Here, Dr. Wang (and Cassava) have admitted that the

Withheld Documents exist and that Dr. Wang possesses them. Thus, it is only the

content of the Withheld Documents that may be inculpatory. See Maxwell, 545 F.

Supp. 3d at 79. As a result, the “act of produc[tion]” privilege is inapplicable and

Dr. Wang’s argument is “without merit.” 4           Id. (“The existence of deposition

transcripts . . . is not inculpatory. It is the content of those transcripts that is at

issue.”).

       Dr. Wang’s argument that the act of production somehow concedes accuracy

is also baseless. Dr. Wang has not provided any authority to support his position.

Further, it contradicts his position in related litigation in which he consented to the

SEC Order without admitting or denying the SEC’s factual findings. Dr. Wang has not

been able explain why he cannot do the same here and produce the Deposition Materials


4
   Here, and throughout, citations are omitted and emphasis is added unless
otherwise noted.

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without admitting or denying their accuracy – as parties and nonparties alike do every

day in litigation. Fisher, 425 U.S. at 409 (finding a subpoena “does not compel oral

testimony; nor would it ordinarily compel the [respondent] to restate, repeat, or

affirm the truth of the contents of the documents sought”).

      At bottom, producing the Withheld Documents is not tantamount to

compelled testimony. After all, Dr. Wang freely gave his testimony before the SEC.

Plaintiffs just want a copy. Further, Cassava has provided a detailed description of

the May 14 Email, and Dr. Wang has admitted that he possesses it. Accordingly,

this Court should compel Dr. Wang to produce the Withheld Documents.

II.   BACKGROUND
      A.     Overview of the Underlying Action
      The underlying litigation is a putative securities fraud class action pending

before Judge David Alan Ezra (“Judge Ezra”) in the United States District Court for

the Western District of Texas.

      Plaintiffs allege that the Cassava Defendants misled the market concerning

Cassava’s primary drug candidate, Simufilam, by, among other things, concealing

that the research justifying Simufilam’s commercial development was marred by

extensive data manipulation, significant anomalies, and undisclosed conflicts of




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interest. ¶¶1-44. 5 An August 2021 “Citizen Petition” revealed “grave concerns

about the quality and integrity of the laboratory-based studies surrounding”

Simufilam, including that Cassava and Dr. Wang manipulated and falsified data in

a string of academic journals and presentations which, in many instances, were co-

authored by Dr. Wang and Dr. Burns. ¶¶12-13.

      Thereafter, numerous government agencies, including the SEC and DOJ,

opened civil and criminal investigations into Cassava. ¶¶28, 44. Nevertheless, the

Cassava Defendants and Dr. Wang continued to cover up their scheme by falsely

presenting manipulated scientific images as “raw” and “original” data to

investigating scientific journals to avoid retraction and obtain exculpatory

statements from the journals under false pretenses. See e.g., ¶¶342-348, 350-357.

      On May 11, 2023, Judge Ezra upheld these allegations and denied the Cassava

Defendants’ motion to dismiss Plaintiffs’ complaint.      Ex. 7 at 18-19, 21-22.

Discovery is ongoing.

      B.    The Plaintiffs’ Document Subpoena to Dr. Wang

      Plaintiffs served Dr. Wang with a document subpoena on June 13, 2023. See

Ex. 8. The subpoena set the place for compliance as Bloomfield Hills, Michigan,

where Dr. Wang’s counsel is located. See id. The subpoena sought documents


5
   All “¶__” and “¶¶__” are to In re Cassava Scis., Sec. Litig., 1:21-cv-00751, ECF
176 (W.D. Tex. June 13, 2024) (operative complaint).

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relevant to the underlying action, including communications with the Cassava

Defendants, Dr. Wang’s involvement with the SEC’s investigation of Cassava, and

documents related to the results of Cassava’s Phase 2 trials for Simufilam. Id.,

Request Nos. 1-5, 53-54.

      On August 11, 2023, Dr. Wang served objections and responses to Plaintiffs’

subpoena. Ex. 9. Dr. Wang agreed to re-produce to Plaintiffs the documents he

produced to the government, including the DOJ and SEC, as well as communications

he received from these government agencies. Ex. 6; Ex. 9. Notably, Dr. Wang did

not assert any Fifth Amendment objection to the subpoena. See generally Ex. 9.

      On November 8, 2023, Lead Counsel for Plaintiffs asked Dr. Wang’s counsel

if he testified before the SEC. Ex. 6 at 19-20. On November 9, 2023, counsel

confirmed that Dr. Wang had in fact testified. Id. at 19. On December 4, 2023,

Plaintiffs requested that Dr. Wang obtain a copy of his transcript(s) and exhibits

from the SEC. Id. at 17-18. On January 8, 2024, counsel for Dr. Wang confirmed

that she would request a copy of the transcript(s) and exhibits from the SEC. Id. at

14. On July 3, 2024, counsel for Dr. Wang confirmed that she had requested the

deposition transcript(s) and exhibits, and the SEC agreed to provide them. Id. at 13.

After a number of additional follow up emails, on September 17, 2024, counsel for

Dr. Wang confirmed that she would produce the Deposition Materials to Plaintiffs

“this week,” despite Dr. Wang already having been indicted in June 2024. Id. at 11.

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       The following week, on Monday, September 23, 2024, counsel for Dr. Wang

suddenly changed course and asserted for the first time that she would not produce

the Deposition Materials and that they were protected “pursuant to the Act of

Production privilege.” Id. at 10. After Plaintiffs requested the basis for the

application of that privilege, Dr. Wang’s counsel asserted only that the production

of the Deposition Materials “could be construed as Dr. Wang’s consent to the

accuracy of the contents, when, in fact, he did not review the transcript for accuracy.”

Id. at 8. Later, on October 15, 2024, counsel for Dr. Wang claimed the SEC

deposition exhibits were also protected by the “act of production” privilege because

producing them “would implicitly communicate facts and the existence, location,

and authenticity of documents (deposition exhibits)” not already known to Plaintiffs.

Id. at 1.

       On October 10, 2024, Dr. Wang agreed, through his counsel, that the May 14

Email was responsive to Plaintiffs’ subpoena, but refused to produce it because it was in

“Cassava’s possession, custody, or control” and therefore Plaintiffs “should get [it] from

[Cassava] and not from [Dr. Wang] as a third-party.” Id. at 3. At that time, Dr. Wang’s

counsel made no mention of the “act of production” privilege with regard to the May 14

Email. Plaintiffs promptly informed Dr. Wang’s counsel that the Cassava Defendants




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denied the May 14 Email was in their possession.6 Id. It was not until October 15, 2024

that Dr. Wang belatedly asserted an “act of production” privilege over the May 14 Email.

Id. at 1.

III.      ARGUMENT

          The Federal Rules of Civil Procedure are broad and permit discovery of “any

nonprivileged matter that is relevant to any party’s claim or defense and proportional

to the needs of the case.” Fed. R. Civ. P. 26(b)(1). “[N]on-parties are not alleviated

from participating in discovery. Indeed, the function of Rule 45 is to require the

compliance of non-parties in discovery, including the right to command a non-party

to produce documents.” In re FirstEnergy Corp. Sec. Litig., 2022 WL 17075838, at

*3 (S.D. Ohio Nov. 18, 2022), objections overruled, 2023 WL 142078 (S.D. Ohio

Jan. 10, 2023). It is undisputed that the Withheld Documents are relevant to the

underlying litigation and pose little to no burden for Dr. Wang to produce to

Plaintiffs. The only dispute is whether Dr. Wang’s belated assertion of the Fifth

Amendment act of production privilege over the Withheld Documents is proper. It

is not.




6
   The Cassava Defendants have not explained why the May 14 Email, which
Dr. Burns (a then employee of Cassava) sent to Dr. Wang, is not in Cassava’s
possession, custody, or control.

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      A.     The Fifth Amendment Act of Production Privilege Does Not
             Apply

      The Fifth Amendment provides in pertinent part: “No person . . . shall be

compelled in any criminal case to be a witness against himself . . . .” U.S. Const.

Amend. V. The burden of establishing a valid Fifth Amendment privilege falls to

the party asserting the privilege. Bayview Loan Servicing, LLC v. McNaughton,

2007 WL 2433996, at *3 (W.D. Mich. Aug. 22, 2007); see also Butcher v. Bailey,

753 F.2d 465, 470 (6th Cir. 1985) (placing burden of demonstrating the act of

production privilege on party asserting the privilege).

      Courts have recognized a narrow “act of production” privilege, which is

applicable only where: (1) the production of the documents is testimonial, and

(2) the party asserting the privilege shows it is incriminating, i.e., that it provides “‘a

link in the chain of incrimination.’” Bayview, 2007 WL 2433996, at *2; U.S. v.

Koubriti, 297 F. Supp. 2d 955, 968 (E.D. Mich. 2004) (same).

       Consistent with the above requirements, this narrow privilege only “prohibits

the compelled disclosure of documents when the act of production has independent

communicative aspects – such as an admission that the documents exist, that the

subject possesses or controls the documents, that the documents are authentic, or

that the subject believes the documents are responsive to the subpoena.” In re

Various Grand Jury Subpoenas, 924 F. Supp. 2d 549, 552 (S.D.N.Y. 2013), aff’d,

579 F. App’x 37 (2d Cir. 2014) (citing Fisher, 425 U.S. 391 at 410). The fact that
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the “documents contain incriminating information . . . does not implicate the Fifth

Amendment” unless, as noted above “the act of production is itself testimonial in

nature and incriminating to the person making the disclosure.”         Madanes v.

Madanes, 186 F.R.D. 279, 284 (S.D.N.Y. 1999) (citing Fisher, 425 U.S. at 410).

See In re Grand Jury Procs. (Doe), 575 F. Supp. 197, 202 (N.D. Ohio 1983) (finding

“that the mere fact that the subpoenaed documents may contain incriminating

information is not sufficient to prevent their production” under the Fifth

Amendment), aff’d sub nom. In re Grand Jury Proc., John Doe (Arnold Weiner,

Doe’s Att’y), 754 F.2d 154 (6th Cir. 1985). Here, the act of producing the Withheld

Documents is neither testimonial in nature nor incriminating.

      The Deposition Materials. First, no testimony is being compelled. Dr. Wang

already testified voluntarily before the SEC – twice. Moreover, Dr. Wang was

represented by able counsel during his SEC depositions and was “free to assert h[is]

Fifth Amendment rights in [the SEC action] and refuse to offer incriminating

testimony.” Maxwell, 545 F. Supp. 3d at 79. Plaintiffs are not seeking Dr. Wang’s

testimony here; they merely seek a copy of the testimony he already freely gave.

      Nor could the act of production be testimonial. Dr. Wang has already

(1) admitted the existence of the Deposition Materials, (2) confirmed he has them,

and (3) agreed to produce them. Ex. 6. “[H]aving been informed by [Dr. Wang] of

the existence of the [Deposition Materials] and his possession of them, [Plaintiffs]

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clearly can demonstrate with reasonable particularity that [they] know[] of the

existence and location of these documents.” Koubriti, 297 F. Supp. 2d at 969 (citing

In re Grand Jury Subpoena Duces Tecum Dated Oct. 29, 1992, 1 F.3d 87, 93 (2d

Cir. 1993)). Thus, the existence and location of the Withheld Documents is a

“foregone conclusion,” and there is no valid testimonial objection here. See Fisher,

425 U.S. at 411 (“The existence and location of the [sought] papers are a foregone

conclusion and the [compelled individual] adds little or nothing to the sum total of

the Government’s information by conceding that he in fact has the papers.”).

      Second, the production (as opposed to the contents) of the Deposition

Materials is not incriminating, as “[t]he existence of deposition transcripts” from a

civil case “is not inculpatory.” Maxwell, 545 F. Supp. 3d at 79. Even if Dr. Wang

had not already admitted he received these documents from the SEC’s court reporter,

“simple compliance with a court order ordering production of the [Deposition

Materials] would not implicitly authenticate them,” eliminating any concern that the

production of the Deposition Materials would be testimonial. Koubriti, 297 F. Supp.

2d at 969-70.

      The May 14 Email. The same is true for the May 14 Email. The details of

the May 14 Email have already been publicly revealed by Cassava (publicly in an

SEC filing) and the SEC as an email Dr. Wang received from defendant Burns that

“unblinded” Dr. Wang to patients enrolled in Cassava’s Phase 2 trials. Like the

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Deposition Materials, Dr. Wang’s counsel confirmed that the May 14 Email is

responsive to the subpoena. And, again, because “[t]he existence and location of the

[May 14 Email] [is] a foregone conclusion,” Dr. Wang’s production of it “adds little

or nothing to the sum total of [Plaintiffs’] information by conceding that he in fact

has the [May 14 Email].” Fisher, 425 U.S. at 411; Koubriti, 297 F. Supp. 2d at 969.

      Dr. Wang’s position as to the Withheld Documents is further undermined by

the fact that Plaintiffs have the “ability to authenticate the documents by other means

[thus] negat[ing] the claim of privilege.” Koubriti, 297 F. Supp. 2d at 970-71. Here,

the Deposition Materials can be authenticated by the SEC, the court reporter, or

through other witnesses.7 The May 14 Email, likewise, may be authenticated by

defendant Burns or through other witnesses. Therefore, Dr. Wang’s assertion of the

act of production privilege is simply improper; the privilege does not apply.

      B.     Dr. Wang Waived Any Fifth Amendment Act of Production
             Privilege

      Even if the Fifth Amendment act of production privilege somehow applied (it

does not), Dr. Wang waived any such privilege by: (1) disclosing the information;

and (2) failing to timely assert the privilege. It is well established that a party can,

either intentionally or inadvertently, waive his Fifth Amendment right by disclosing


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   Moreover, because the deposition exhibits were provided during the depositions
by the SEC, the exhibits may be authenticated within the transcript itself or by other
witnesses.

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the information earlier in the litigation or failing to assert the privilege in a timely

manner. See Bayview, 2007 WL 2433996, at *5; Maness v. Meyers, 419 U.S. 449,

466 (1975) (the Fifth Amendment “is not a self-executing mechanism; it can be

affirmatively waived, or lost by not asserting it in a timely fashion”).

      Bayview is instructive. Like Dr. Wang, the defendants in Bayview agreed to

produce the requested documents pursuant to a subpoena and “[a]t no time did

defendants’ counsel indicate that the records would not be produced . . . based on a

Fifth Amendment claim” until a last minute change of heart. Bayview, 2007 WL

2433996, at *1. The Bayview court found that the materials were not protected by

the act of production privilege and that, in any event, the litigant waived his Fifth

Amendment rights. Id. at *1, *5.

      The same result is warranted here. As explained above, Dr. Wang’s counsel

disclosed to Plaintiffs that Dr. Wang was deposed by the SEC and agreed to both

request and produce the Deposition Materials to Plaintiffs without mention of any

Fifth Amendment act of production privilege – despite the fact that Dr. Wang had

already been indicted. 8 See Ex. 6. It was not until after Dr. Wang agreed to produce

the Deposition Materials and after the date certain provided for the production had


8
   Indeed, Dr. Wang did not assert the Fifth Amendment in his objections and
responses to Plaintiffs’ August 11, 2023 document subpoena, despite already having
received a grand jury subpoena for documents two years before, in August 2021.
Ex. 7; Ex. 10.

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come and gone that Dr. Wang’s counsel first mentioned the Fifth Amendment act of

production privilege. Id. Accordingly, Dr. Wang waived any Fifth Amendment

privilege that might have once applied.

      Similarly, in October 2024, when Plaintiffs asked Dr. Wang for the May 14

Email, Dr. Wang did not assert an act of production privilege. Indeed, Dr. Wang

objected only that the May 14 Email should be produced by the Cassava Defendants

rather than by Dr. Wang given that he was a third party. Id. It was not until after

Plaintiffs advised Dr. Wang that the Cassava Defendants claimed they did not

possess the May 14 Email that he first asserted the act of production privilege as to

that document.

      Finally, even setting aside the untimeliness of Dr. Wang’s Fifth Amendment

assertion, he cannot “seek to assert a Fifth Amendment privilege to information [he]

h[as] already disclosed during the course of this litigation.” Bayview, 2007 WL

2433996, at *5; see also Rogers v. U.S., 340 U.S. 367, 373 (1951) (“[W]here

criminating facts have been voluntarily revealed, the privilege cannot be invoked to

avoid disclosure of the details.”). Here, Dr. Wang has already disclosed information

to the SEC in deposition, and he has since disclosed that he has the Deposition

Materials and the May 14 Email. Thus, the “act of production” doctrine does not

apply or has been waived. See Bayview, 2007 WL 2433996, at *1, *5.




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       C.    Dr. Wang Agreed to the SEC Settlement Order without
             Admitting or Denying the Accuracy of the Factual
             Allegations
       Finally, Dr. Wang’s rationale that production of the Withheld Documents is

tantamount to conceding their accuracy is incorrect. Ex. 6. As stated above,

Plaintiffs’ subpoena “does not compel oral testimony; nor would it ordinarily compel

the [respondent] to restate, repeat, or affirm the truth of the contents of the

documents sought.” Fisher, 425 U.S. at 409. Additionally, Dr. Wang’s position is

undermined by his own actions in settling with the SEC without admitting or

denying the accuracy of the allegations against him, including the extensive factual

background in the SEC Settlement Order. See Ex. 4 at 1, 3-10. Here, too, Dr. Wang

can produce the Withheld Documents without admitting or denying their accuracy.

Fisher, 425 U.S. at 409. Accordingly, Dr. Wang’s rationale for invoking the act of

production privilege is unsupported, inconsistent, and – based on the eleventh hour

invocation of the Fifth Amendment – pure gamesmanship. This Court should reject

the privilege and compel production of the Withheld Documents.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant

this Motion and compel production of the Withheld Documents within seven (7)

days of any order. 9


9
    A proposed order is attached hereto as Exhibit B.

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 DATED: November 15, 2024


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                          CERTIFICATE OF SERVICE

      I hereby certify under penalty of perjury that on November 18, 2024, I

authorized the electronic filing of the foregoing with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the email addresses

on the attached Electronic Mail Notice List, and I hereby certify that I caused the

mailing of the foregoing via the United States Postal Service to the non-CM/ECF

participants indicated on the attached Manual Notice List.


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